Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1188 Filed 02/19/21 Page 1 of 42




                               EXHIBIT 18
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1189 Filed 02/19/21 Page 2 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12959
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 12/01/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/16/2020




 DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

 WORKSTATIONS (HARDWARE)
 Dell Optiplex 3070 Micro                                                                         22                633.03 13,926.66T
 (i5/8GB/128GB/3YR

 Dell Optiplex Micro All In One Stand                                                             20                 89.10   1,782.00T
 Dell 22" E-Series Monitor                                                                        20               135.992   2,719.84T

 Dell 24" Professional Series Monitor                                                              2                189.99     379.98T
 Shipping Office
 Professional Services (Per Computer)                                                             22                221.00    4,862.00

 IT Project - Credit Card Deposit                                                                  1           -12,399.495   -12,399.50


 Thank you for your business!                                                  SUBTOTAL                                      11,270.98

                                                                               TAX                                            1,128.51
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                         12,399.49
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for AC
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                            $12,399.49




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1190 Filed 02/19/21 Page 3 of 42
                   Detroit IT
                   PO Box 1411
                   Birmingham, MI 48012 US
                   (248) 530-1001
                   billing@detroitit.com
                   www.detroitmanagedit.com


 BILL TO                                                                             INVOICE 12951
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                     DATE 12/01/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                     DUE DATE 12/16/2020




 DESCRIPTION                                                                                   QTY                  RATE    AMOUNT

 NETWORK INFRASTRUCTURE (HARDWARE)
 Cisco Meraki MX84 Cloud Managed Security Appliance                                               1              3,896.75 3,896.75T
 MDF

 Cisco Meraki MX84 Cloud Managed Security Appliance                                               1              1,296.75 1,296.75T
 MDF
 Ubiquiti UniFi Cloud Key Gen 2                                                                   1                179.00    179.00T
 MDF

 Ubiquiti UniFi Switch 16 XG                                                                      1                599.00    599.00T
 MDF
 Ubiquiti UniFi Redundant Power System                                                            1                399.00    399.00T
 1xMDF

 Ubiquiti Unifi Switch Pro 24 POE                                                                 7                699.00 4,893.00T
 1xMDF
 6xIDF
 Ubiquiti UniFi Long Range Access Point                                                          49                109.00 5,341.00T
 Warehouse

 Ubiquiti SFP+ MM Module (20 Pack)                                                                1                360.00    360.00T
 Cloud Key G2 Rack Mount                                                                          1                 99.00     99.00T

 Professional Services (IDF)                                                                      6                663.00    3,978.00
 Install Tripp Lite wall mount cabinet
 Install two (2) horizontal cable management
 Patch up to twenty four (24) patch cables
 Install and configure one (1) Ubiquiti UniFi Network Switch
 Install one (1) Tripp Lite UPS
 Professional Services (MDF)                                                                      1                884.00     884.00
 Install Tripp Lite 24U cabinet
 Install four (4) horizontal cable management
 Patch up to twenty four (24) patch cables
 Install and configure two (2) Cisco Meraki MX firewalls
 Install and configure two (2) Ubiquiti UniFi Network Switch
 Install one (1) Tripp Lite UPS

 IT Project - Credit Card Deposit                                                                 1            -12,500.00           -
                                                                                                                            12,500.00


                  Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1191 Filed 02/19/21 Page 4 of 42

 Thank you for your business!                                                  SUBTOTAL                                    9,425.50

                                                                               TAX                                         1,023.81
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                      10,449.31
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                            $10,449.31




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1192 Filed 02/19/21 Page 5 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12952
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 12/01/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/16/2020




 DESCRIPTION                                                                                     QTY                  RATE    AMOUNT

 SERVER INFASTRUCTURE (HARDWARE)
 Dell PowerEdge R440 (CTO)                                                                          1              5,579.80 5,579.80T
 (2x2.1Ghz,64GB,4x480GB, Server 2019, RPS, 3YR Warranty)

 Professional Services                                                                             20                110.50   2,210.00
 Install Vmware ESXI on DA-MI-ESXI2
 Configure DA-MOI-ESXI2
 Create DA-MI-DC2
 Install Windows Server 2019
 Configure Server Roles
 Create DA-MI-APP2 virtual machine
 Create DA-MI-SQL2 virtual machine
 Create DA-MI-DEV virtual machine
 IT Project - Credit Card Deposit                                                                   1            -4,062.295   -4,062.30


 Thank you for your business!                                                  SUBTOTAL                                       3,727.50

                                                                               TAX                                              334.79
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          4,062.29
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,062.29



                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1193 Filed 02/19/21 Page 6 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12953
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 12/01/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/16/2020




 DESCRIPTION                                                                                     QTY                  RATE    AMOUNT

 HP LaserJet Pro M404N Printer                                                                      4                269.99 1,079.96T
 Processional Services                                                                              4                110.50    442.00


 Thank you for your business!                                                  SUBTOTAL                                       1,521.96

                                                                               TAX                                              64.80
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,586.76
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,586.76




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1194 Filed 02/19/21 Page 7 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12836
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/02/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/17/2020




 DESCRIPTION                                                                                     QTY                  RATE    AMOUNT

 Samsung Galaxy Tab A - 10.1"                                                                       5                179.99   899.95T
 Samsung Galaxy 10.1 Shockproof Case with Hand Strap                                                5                 39.99   199.95T

 Samsung Galaxy 8.0 Protective Case with Hand Strap                                                 3                 34.99   104.97T
 Rolling Tablet Stand                                                                               3                 76.99   230.97T

 Zebra DS2278 Cordless Handheld Scanner                                                             3                202.99   608.97T
 Metal Basket Add-On                                                                                3                 30.00    90.00T

 Kensington 6 Outlet Surge Strip                                                                    3                 20.00    60.00T
 3% - Applied on Nov 18, 2020                                                                                                  69.79T


 Thank you for your business!                                                  SUBTOTAL                                       2,264.60

                                                                               TAX                                             135.88
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          2,400.48
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire: 0
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $2,400.48




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1195 Filed 02/19/21 Page 8 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12838
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/03/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/18/2020




 DESCRIPTION                                                                                     QTY                  RATE   AMOUNT

 Motorola MC55A Handheld Computer                                                                  14                150.00 2,100.00T
 3% - Applied on Nov 19, 2020                                                                                                  66.78T


 Thank you for your business!                                                  SUBTOTAL                                      2,166.78

                                                                               TAX                                             130.01
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                         2,296.79
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $2,296.79




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1196 Filed 02/19/21 Page 9 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12848
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/06/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/21/2020




 DESCRIPTION                                                                                     QTY                  RATE    AMOUNT

 MSP Agreement (Remote/Onsite) - 10/31/2020 - Remote After Hours / Eric                             1                165.75    165.75
 Grundlehner: #460283: Re: can you please restart the ozlink server
 1.5% - Applied on Nov 22, 2020                                                                                                 2.49T


 Thank you for your business!                                                  SUBTOTAL                                        168.24

                                                                               TAX                                               0.15
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                           168.39
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                                  $168.39




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1197 Filed 02/19/21 Page 10 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12847
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/06/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/21/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Professional Services - Front Counter Rework                                                     10                165.75   1,657.50
  1.5% - Applied on Nov 22, 2020                                                                                               24.86T


 Thank you for your business!                                                  SUBTOTAL                                       1,682.36

                                                                               TAX                                                1.49
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,683.85
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,683.85




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1198 Filed 02/19/21 Page 11 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12700
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 05/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 05/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: May 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                45                 50.00      2,250.00

  DIT Endpoint Protection for Workstation                                                          45                     2.50   112.50T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -661.65       -661.65
  Onsite Technician (4 Hours, 3 Days a Week)                                                       48                110.50      5,304.00

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          9,179.85
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   7.59
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             9,187.44
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $9,187.44




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1199 Filed 02/19/21 Page 12 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12716
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 10/05/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/20/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Lenovo 22" ThinCentre Tiny In One 21.5" Monitor with Speaker and Webcam                           2                165.00   330.00T
  Lenovo ThinkCenter Tiny M75Q                                                                      2                499.00   998.00T

  3% - Applied on Oct 21, 2020                                                                                                 42.23T
  1.5% - Applied on Nov 21, 2020                                                                                               21.79T


 Thank you for your business!                                                  SUBTOTAL                                       1,392.02

                                                                               TAX                                              83.52
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,475.54
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,475.54




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1200 Filed 02/19/21 Page 13 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12930
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: November 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                60                 50.00      3,000.00

  DIT Endpoint Protection for Workstation                                                          60                     2.50   150.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          4,640.85

                                                                               TAX                                                   9.84
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                             4,650.69
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.



                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1201 Filed 02/19/21 Page 14 of 42

                                                                     TOTAL DUE                                $4,650.69




            Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1202 Filed 02/19/21 Page 15 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12929
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 11/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: November 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                60                 35.00      2,100.00

  DIT Endpoint Protection for Workstation                                                          60                     2.50   150.00T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -613.80       -613.80
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          3,358.70
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   9.63
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             3,368.33
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $3,368.33




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1203 Filed 02/19/21 Page 16 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12931
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 12/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: December 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                60                 50.00      3,000.00

  DIT Endpoint Protection for Workstation                                                          60                     2.50   150.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          4,640.85

                                                                               TAX                                                   9.84
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                             4,650.69
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.



                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1204 Filed 02/19/21 Page 17 of 42

                                                                     TOTAL DUE                                $4,650.69




            Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1205 Filed 02/19/21 Page 18 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12932
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 12/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: December 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                60                 35.00      2,100.00

  DIT Endpoint Protection for Workstation                                                          60                     2.50   150.00T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -613.80       -613.80
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          3,358.70
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   9.63
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             3,368.33
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $3,368.33




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1206 Filed 02/19/21 Page 19 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12698
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 09/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: September 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                80                 35.00      2,800.00

  DIT Endpoint Protection for Workstation                                                          80                     2.50   200.00T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -613.80       -613.80
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          4,108.70
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                 12.63
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             4,121.33
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,121.33




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1207 Filed 02/19/21 Page 20 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12608
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 10/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: October 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                60                 50.00      3,000.00

  DIT Endpoint Protection for Workstation                                                          60                     2.50   150.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  Onsite Technician                                                                                15                110.50      1,657.50

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          6,298.35

                                                                               TAX                                                   9.84
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                             6,308.19
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.

                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1208 Filed 02/19/21 Page 21 of 42


                                                                     TOTAL DUE                                $6,308.19




            Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1209 Filed 02/19/21 Page 22 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12699
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 10/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: October 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                79                 35.00      2,765.00

  DIT Endpoint Protection for Workstation                                                          79                     2.50   197.50T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -613.80       -613.80
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          4,071.20
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                 12.48
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             4,083.68
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,083.68




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1210 Filed 02/19/21 Page 23 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12487
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 09/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: September 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                48                 50.00      2,400.00

  DIT Endpoint Protection for Workstation                                                          48                     2.50   120.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  Onsite Technician                                                                                15                110.50      1,657.50

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          5,668.35

                                                                               TAX                                                   8.04
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                             5,676.39
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.

                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1211 Filed 02/19/21 Page 24 of 42


                                                                     TOTAL DUE                                $5,676.39




            Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1212 Filed 02/19/21 Page 25 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12391
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 07/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 07/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: July 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                48                 50.00      2,400.00

  DIT Endpoint Protection for Workstation                                                          48                     2.50   120.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  Onsite Technician (4 Hours, 3 Days a Week)                                                       48                110.50      5,304.00

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          9,314.85
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   8.04
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             9,322.89
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $9,322.89




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1213 Filed 02/19/21 Page 26 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12392
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 08/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 08/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: August 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                48                 50.00      2,400.00

  DIT Endpoint Protection for Workstation                                                          48                     2.50   120.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  Onsite Technician (4 Hours, 3 Days a Week)                                                       48                110.50      5,304.00

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          9,314.85
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   8.04
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             9,322.89
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $9,322.89




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1214 Filed 02/19/21 Page 27 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12393
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 07/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 07/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: July 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                70                 35.00      2,450.00

  DIT Endpoint Protection for Workstation                                                          70                     2.50   175.00T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -613.80       -613.80
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          3,733.70
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                 11.13
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             3,744.83
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $3,744.83




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1215 Filed 02/19/21 Page 28 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 8940
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 06/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 06/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: June 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                80                 35.00      2,800.00

  DIT Endpoint Protection for Workstation                                                          80                     2.50   200.00T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -519.30       -519.30
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          4,203.20
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                 12.63
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             4,215.83
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,215.83




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1216 Filed 02/19/21 Page 29 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12701
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 05/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 05/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: May 2020
  DIT Expert Care: Network Firewall                                                                 1                 75.00        75.00

  DIT Expert Care: Physical Sever                                                                   2                200.00       400.00
  DIT Exper Care: Virtual Server                                                                    3                 99.00       297.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                31                 35.00      1,085.00

  DIT Endpoint Protection for Workstation                                                          31                     2.50    77.50T
  DIT Endpoint Protection for Servers                                                               3                     3.50    10.50T

  3 Year Agreement Discount 15%                                                                     1               -519.30       -519.30
  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          2,365.70
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   5.28
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             2,370.98
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $2,370.98




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1217 Filed 02/19/21 Page 30 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12391
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 07/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 07/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: July 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                48                 50.00      2,400.00

  DIT Endpoint Protection for Workstation                                                          48                     2.50   120.00T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -684.15       -684.15
  Onsite Technician (4 Hours, 3 Days a Week)                                                       48                110.50      5,304.00

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          9,314.85
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   8.04
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             9,322.89
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $9,322.89




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1218 Filed 02/19/21 Page 31 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12182
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 06/01/2020     TERMS Due on receipt
 Ferndale, MI 48220 US



                                                                                       DUE DATE 06/01/2020




  DESCRIPTION                                                                                    QTY                  RATE       AMOUNT

  Service Period: June 2020
  DIT Expert Care: Network Firewall                                                                 3                 75.00       225.00

  DIT Expert Care: Physical Sever                                                                   3                200.00       600.00
  DIT Exper Care: Virtual Server                                                                    4                 99.00       396.00

  DIT Expert Care: Network Switch                                                                   7                 25.00       175.00
  DIT Pro Care: Wireless Access Point                                                              46                 15.00       690.00

  DIT Pro Care: Network Printer                                                                     5                 15.00        75.00
  DIT Pro Care: Managed Workstation                                                                45                 50.00      2,250.00

  DIT Endpoint Protection for Workstation                                                          45                     2.50   112.50T
  DIT Endpoint Protection for Servers                                                               4                     3.50    14.00T

  3 Year Agreement Discount 15%                                                                     1               -661.65       -661.65
  Onsite Technician (4 Hours, 3 Days a Week)                                                       48                110.50      5,304.00

  ** PLEASE NOTE THIS IS YOUR MONTHLY SUPPORT INVOICE DUE NET15
  FROM RECEIPT. ALL SUPPORT INVOICES ARE DUE PRIOR TO THE MONTH
  OF SERVICE. If payment is not received by the INVOICE date, services may be
  suspended. If you have any questions, please contact Billing@detroitit.com**


 Thank you for your business!                                                  SUBTOTAL                                          9,179.85
 Make check payable to Detroit IT. Please include invoice # on check.
                                                                               TAX                                                   7.59
 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and       TOTAL                                             9,187.44
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $9,187.44




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1219 Filed 02/19/21 Page 32 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12926
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 11/18/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 12/03/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Restocking Fee - Zebra TC20 Plus                                                                 26                133.80 3,478.80T
  Restocking Fee - Zebra DC Cable                                                                   6                 6.598    39.59T

  Restocking Fee - Zebra external Printer Server                                                   22                 37.80   831.60T
  Restocking Fee - Protective Boot                                                                 28                 11.05   309.40T

  Restocking Fee - Zebra 5 slot Charging Cradle                                                     1                69.998    70.00T
  Restocking Fee - Zebra Power Supply Adapter                                                       6                 19.80   118.80T

  Restocking Fee - Parcel Scales                                                                   10                145.00 1,450.00T
  Shipping Charge - Parcel Scales                                                                  10                 97.45   974.50T

  Shipping Charge - Zebra External Printer Server                                                   1                 19.79    19.79T
  Shipping Charge - Zebra TC20, Zebra DC Cable, Zebra 5 Slot Charging Cradle,                       1                 69.85    69.85T
  Zebra Power Supply


 Thank you for your business!                                                  SUBTOTAL                                       7,362.33

                                                                               TAX                                             441.74
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          7,804.07
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $7,804.07



                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1220 Filed 02/19/21 Page 33 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12660
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/20/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/05/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Zebra TC20 Mobile Computer                                                                        2                559.00 1,118.00T
  Professional Services                                                                             1                110.50    110.50

  3% - Applied on Oct 6, 2020                                                                                                  38.87T


 Thank you for your business!                                                  SUBTOTAL                                       1,267.37

                                                                               TAX                                              69.41
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,336.78
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,336.78




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1221 Filed 02/19/21 Page 34 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12642
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/20/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/05/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Dell Optiplex 3070 (i5/8GB/256SSD/3YR)                                                            1                719.00   719.00T
  Dell 22" E-Series Monitor                                                                         1                169.99   169.99T

  Dell All in One Stand                                                                             1                 99.00    99.00T
  HP LasterJet M402DN                                                                               1                189.99   189.99T

  Professional Services                                                                             2                110.50    221.00
  Ticket # 428064 - Urgent Equipment Need

  3% - Applied on Oct 6, 2020                                                                                                  44.09T


 Thank you for your business!                                                  SUBTOTAL                                       1,443.07

                                                                               TAX                                              73.32
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,516.39
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,516.39




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1222 Filed 02/19/21 Page 35 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12641
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/20/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/05/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Dell Optiplex 3070 (i5/8GB/256SSD/3YR)                                                            1                719.00   719.00T
  Dell P2219H Monitor                                                                               1                179.00   179.00T

  Professional Services                                                                             2                110.50    221.00
  Ticket # 437556 - New Computer for Mt. Elliot

  3% - Applied on Oct 6, 2020                                                                                                  35.19T


 Thank you for your business!                                                  SUBTOTAL                                       1,154.19

                                                                               TAX                                              55.99
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,210.18
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,210.18




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1223 Filed 02/19/21 Page 36 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12639
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/20/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/05/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Lenovo T490 S (i5/16GB/256GB/3YR)                                                                 1              1,299.99 1,299.99T
  Lenovo USB-C Docking Station                                                                      1                219.99   219.99T

  Professional Services                                                                             2                110.50    221.00
  Ticket # 438927 - New Laptop for Mark

  3% - Applied on Oct 6, 2020                                                                                                  54.97T


 Thank you for your business!                                                  SUBTOTAL                                       1,795.95

                                                                               TAX                                              94.50
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          1,890.45
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $1,890.45




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1224 Filed 02/19/21 Page 37 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12730
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/30/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/15/2020




  DESCRIPTION                                                                                   QTY                  RATE    AMOUNT

  Dell Optiplex 27" 7770 Touch (i5/8GB/256SSD)                                                     8              1,299.00 10,392.00T
  Ergotron LX Desk Mount                                                                           6                209.00   1,254.00T


 Thank you for your business!                                                  SUBTOTAL                                      11,646.00

                                                                               TAX                                             698.76
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                         12,344.76
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                            $12,344.76




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1225 Filed 02/19/21 Page 38 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12731
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 10/08/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/23/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  IMPLEMENTATION (ONE TIME)
  Professional Services - After Hours                                                              15                165.75   2,486.25
  Migrate DEV-DA-J-APP
  Migrate PROD-DA-J-APP
  Migrate SQl-DA-J to DA-MX-ESXI1

  Professional Services                                                                             7                110.50    773.50
  Install Vmware ESXI on DA-MX-ESXI
  Configure DA-DA-MX-ESXI1
  Create DA-MX-DC1
  Install Windows Server 2019
  Configure Server Roles


 Thank you for your business!


 Make check payable to Detroit IT. Please include invoice # on the check.


 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $3,259.75




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1226 Filed 02/19/21 Page 39 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12729
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/30/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/15/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Vizio 4K Ulra HD 65" TV                                                                           3                649.99 1,949.97T
  30-70" TV Mount                                                                                   3                 29.90    89.70T

  Dell OptiPlex 5070 Micro (i7/16GB/256SSD/3YR)                                                     1                899.99   899.99T
  Professional Services                                                                            10                110.50   1,105.00

  Project: Mike's Office Cameras


 Thank you for your business!                                                  SUBTOTAL                                       4,044.66

                                                                               TAX                                             176.38
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          4,221.04
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,221.04




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1227 Filed 02/19/21 Page 40 of 42
                    Detroit IT
                    PO Box 1411
                    Birmingham, MI 48012 US
                    (248) 530-1001
                    billing@detroitit.com
                    www.detroitmanagedit.com


 BILL TO                                                                               INVOICE 12728
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                       DATE 09/30/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                       DUE DATE 10/15/2020




  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  Logitech Rally Plus Premium ConferenceCam                                                         1              2,599.00 2,599.00T
  Dell Optiplex 3060 (i5/8GB/256SSD/3YR)                                                            1                799.00   799.00T

  1 Lot of Misc Consumables                                                                         1                150.00   150.00T
  Professional Services                                                                             8                110.50    884.00
  Mount and install Tv's
  Mount and Install Logitech Rally Plus Camera and speakers
  Mount, Install and Setup Conference Room Computer


 Thank you for your business!                                                  SUBTOTAL                                       4,432.00

                                                                               TAX                                             212.88
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          4,644.88
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $4,644.88




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1228 Filed 02/19/21 Page 41 of 42
                   Detroit IT
                   PO Box 1411
                   Birmingham, MI 48012 US
                   (248) 530-1001
                   billing@detroitit.com
                   www.detroitmanagedit.com


 BILL TO                                                                              INVOICE 12724
 Mike Musheinish
 Detroit Axle
 2000 Eight Mile Road
                                                                                      DATE 08/02/2020     TERMS Net 15
 Ferndale, MI 48220 US



                                                                                      DUE DATE 08/17/2020




  DESCRIPTION                                                                                   QTY                  RATE    AMOUNT

  FERNDALE, MI - HIGH AVAILABILITY
  Cisco Meraki MX84 Cloud Managed Security Appliance                                               1              3,896.75 3,896.75T
  3 Year Advanced Security License

  Cisco Meraki MX84 Cloud Managed Security Appliance HA High Availability                          1              1,296.75 1,296.75T
  Professional Services Configuration                                                              8                110.50    884.00
  Create Cisco Meraki dashboard account
  Add Cisco MX to dashboard
  Configure general settings
  Configure alerting
  Configure WAN/LAN/VLAN
  Configure firewall
  Configure security services

  Professional Services Cutover - After Hours                                                      2                165.75    331.50
  JUAREZ, MX - HIGH AVAILABILITY

  Professional Services Configuration & Cutover                                                    6                110.50    663.00
  Create Cisco Meraki dashboard account
  Add Cisco MX to dashboard
  Configure general settings
  Configure alerting
  Configure WAN/LAN/VLAN
  Configure firewall
  Configure security services
  Professional Services Cutover - After Hours                                                      2                165.75    331.50

  OAK PARK, MI
  Cisco Meraki MX67 Cloud Managed Security Appliance                                               1              1,361.75 1,361.75T
  3 Year Advanced Security License

  Professional Services Configuration & Cutover                                                    6                110.50    663.00
  Create Cisco Meraki dashboard account
  Add Cisco MX to dashboard
  Configure general settings
  Configure alerting
  Configure WAN/LAN/VLAN
  Configure firewall
  Configure security services

                   Any and all disputes to any item must be made in writing within 5 business days from date received.
Case 2:21-cv-10163-GAD-APP ECF No. 28-19, PageID.1229 Filed 02/19/21 Page 42 of 42

  DESCRIPTION                                                                                    QTY                  RATE    AMOUNT

  SHANGHAI, CN

  Cisco Meraki MX67 Cloud Managed Security Appliance                                                1              1,361.75 1,361.75T
  3 Year Advanced Security License
  Professional Services - Configuration                                                             6                110.50     663.00
  Create Cisco Meraki dashboard account
  Add Cisco MX to dashboard
  Configure general settings
  Configure alerting
  Configure WAN/LAN/VLAN
  Configure firewall
  Configure security services

  Professional Services - Cutover (After Hours)                                                     2                165.75     331.50
  DETROIT, MI

  Cisco Meraki MX67 Cloud Managed Security Appliance                                                1              1,361.75 1,361.75T
  3 Year Advanced Security License
  Professional Services - Configuration & Cutover                                                   6                110.50     663.00
  Create Cisco Meraki dashboard account
  Add Cisco MX to dashboard
  Configure general settings
  Configure alerting
  Configure WAN/LAN/VLAN
  Configure firewall
  Configure security services

  IT Project - Q#21389 GLOBAL FIREWALL UPGRADES 50% DEPOSIT                                         1             -6,990.75   -6,990.75


 Thank you for your business!                                                  SUBTOTAL                                       6,818.50

                                                                               TAX                                              556.73
 Make check payable to Detroit IT. Please include invoice # on the check.
                                                                               TOTAL                                          7,375.23
 Bank Information:
 Account Name: Detroit IT
 Bank Name: JP Morgan Chase
 Routing Number for Wire:
 Routing Number for ACH:
 Account#:
 SWIFT Code:



 ** Client will pay interest at the rate of one and a half (1.5) percent per
 month or the legally permissible rate, if lower, on all amounts due and
 owing not paid in accordance with the due date set forth in the invoice.


                                                                               TOTAL DUE                              $7,375.23




                    Any and all disputes to any item must be made in writing within 5 business days from date received.
